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     7

     8                        UNITED STATES DISTRICT COURT
     9                     SOUTHERN DISTRICT OF CALIFORNIA
    10

    11   DOMINIC FONTALVO, a minor, by            Case No.: 3:13-cv-00331-GPC-KSC
         and through his Guardian Ad Litem,
    12   TASHINA AMADOR, individually
         and as successor in interest to Alexis   Judge: Hon. Gonzalo P. Curiel
    13   Fontalvo, deceased, and
         TANIKA LONG, a minor, by and
    14   through her Guardian Ad Litem,
         TASHINA AMADOR,                          PLAINTIFFS’ RESPONSE TO
    15                                            STATEMENT OF UNDISPUTED
                                                  FACTS OF DEFENDANT
    16                      Plaintiff,            SIKORSKY
    17         vs.
    18
         SIKORSKY AIRCRAFT
    19   CORPORATION;
         SIKORSKY SUPPORT SERVICES,
    20   INC.; UNITED TECHNOLOGIES                DATE:       August 11, 2017
         CORPORATION;                             TIME:       1:30 P.M.
    21   G.E. AVIATION SYSTEMS, LLC;              CTRM:       2D
         DUPONT AEROSPACE CO.;
    22   E.I. DUPONT DE NEMOURS AND
         COMPANY;
    23   PKL SERVICES, INC.; and
         DOES 1 through 100, Inclusive,
    24
                      Defendants.
    25

    26

    27

    28
          PLAINTIFFS’ RESPONSE TO STATEMENT             CASE NO. 3:13-CV-00331-GPC-KSC
          OF UNDISPUTED FACTS OF SIKORSKY
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   1           Plaintiffs DOMINIC FONTALVO, a minor, by and through his Guardian
   2     Ad Litem, TASHINA AMADOR, individually and as successor in interest to
   3     Alexis Fontalvo, deceased, and TANIKA LONG, a minor, by and through her
   4     Guardian Ad Litem, TASHINA AMADOR, respond to Defendant SIKORSKY
   5     AIRCRAFT CORPORATION’s Separate Statement of Undisputed Material Facts
   6     as follows:
   7

   8    MOVING PARTY’S                            OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                       AND SUPPORTING EVIDENCE
   9    FACTS AND SUPPORTING
  10    EVIDENCE
        1. Plaintiff’s decedent U.S. Marine
  11
        Corps Sgt. Alexis Fontalvo died on        Undisputed
  12
        March 17, 2011, at Miramar Marine
  13
        Corps Air Station, as the result of a
  14
        military helicopter accident involving
  15
        a CH-53E Super Stallion heavy lift
  16
        cargo helicopter that was being
  17
        prepared for a training flight.
  18
        [Hickey Decl., Ex. A]
  19
        2. Sgt. Fontalvo was acting as an
  20
        aerial observer responsible for pulling   Undisputed
  21
        the chocks and safety pins before
  22
        departure, and had trouble removing a
  23
        safety pin from the helicopter’s left
  24
        landing gear, which pin is designed to
  25
        slide out easily.
  26
        [Hickey Decl., Ex. A, Findings of Fact
  27
        3(e) (p.4); 31 (p.7); 39 (p.8)]
  28
                                                   2
         PLAINTIFFS’ RESPONSE TO STATEMENT                CASE NO. 3:13-CV-00331-GPC-KSC
         OF UNDISPUTED FACTS OF SIKORSKY
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   1    MOVING PARTY’S                            OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                       AND SUPPORTING EVIDENCE
   2    FACTS AND SUPPORTING
   3    EVIDENCE
        3. Sgt. Fontalvo moved from the left
   4
        main landing gear to the left auxiliary   Undisputed
   5
        fuel tank to remove that safety pin,
   6
        and then returned to the landing gear
   7
        and tried again to forcibly remove the
   8
        stuck safety pin. As soon as Sgt.
   9
        Fontalvo forced the safety pin out, the
  10
        landing gear retracted and the aircraft
  11
        collapsed upon him, resulting in his
  12
        death.
  13
        [Hickey Decl., Ex. A, Findings of Fact
  14
        35-39 (p.8)]
  15
        4. Sgt. Fontalvo was an Airframe
  16
        Collateral Duty Quality Assurance         Objection: vague and ambiguous
  17
        Representative (CDQAR), and               insofar as “duty expert” is not defined
  18
        considered by the Navy to be a duty       and has no lay meaning in this context.
  19
        expert on the landing gear system.        Further objection to the extent this is a
  20
        [Hickey Decl., Ex. A, Findings of Fact legal conclusion rather than a fact.
  21
        30 (p.7); Ex. B, Deposition of Wilcox     Without waiving said objections, it is
  22
        at 23: 19-24:21]                          undisputed that S.Sgt. Fontalvo
  23
                                                  obtained a “CDQAR” qualification,
  24
                                                  indicating a specialty in airframe,
  25
                                                  including landing gear.
  26

  27
        5. Sgt. Fontalvo was trained never to
  28
                                                    3
         PLAINTIFFS’ RESPONSE TO STATEMENT                  CASE NO. 3:13-CV-00331-GPC-KSC
         OF UNDISPUTED FACTS OF SIKORSKY
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   1    MOVING PARTY’S                        OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                   AND SUPPORTING EVIDENCE
   2    FACTS AND SUPPORTING
   3    EVIDENCE
        remove a landing gear safety pin if   Disputed.
   4
        any resistance is felt.               “[A] at no time are aircrewman nor
   5
        [Hickey Decl., Ex. B, Deposition of   airframes mechanics formally taught
   6
        Wilcox at 17:5-18:2; 35:23-36:5;      the function of the landing gear safety
   7
        56:11-19]                             pin nor the danger and immediate
   8
                                              actions if the pin is not functioning
   9
                                              properly.”
  10
                                              Hickey       Decl., Ex. A (Command
  11
                                              Investigation Report), p. 13, para. 10.
  12
                                              [MIL073018]
  13
                                              “[The] crew chief stated that the
  14
                                              knowledge was handed down to him
  15
                                              by word of mouth at crew chief school
  16
                                              from experienced crew chiefs. Not all
  17
                                              crew chiefs were aware of the hazard
  18
                                              but some were.      No non-crew chief
  19
                                              MOS aircrewman appear to ever have
  20
                                              been made aware of the hazard in any
  21
                                              training or operational venue.”
  22
                                              Hickey Decl., Ex. D (NCIS Report),
  23
                                              p. 2 [MIL092438]
  24
                                              All of Staff Sergeant Fontalvo’s peers
  25
                                              who were on active duty with him on
  26
                                              March 17, 2011, testified that up until
  27
                                              that date, they were never taught
  28
                                                4
         PLAINTIFFS’ RESPONSE TO STATEMENT                 CASE NO. 3:13-CV-00331-GPC-KSC
         OF UNDISPUTED FACTS OF SIKORSKY
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   1    MOVING PARTY’S                            OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                       AND SUPPORTING EVIDENCE
   2    FACTS AND SUPPORTING
   3    EVIDENCE
                                                  anything, and never knew anything,
   4
                                                  about the danger and immediate
   5
                                                  actions if the landing gear safety pin is
   6
                                                  not functioning properly.
   7
                                                  Shepardson Decl., Exs. O (Captain
   8
                                                  M. Hamilton Depo., pp. 84:11–85:17,
   9
                                                  87:20–22); P (Coffin Depo., pp.
  10
                                                  61:12–62:1); Q (Danley Depo., pp.
  11
                                                  20:18–21:2); R (Shelton Depo., pp.
  12
                                                  117:6–11, 146:1–5, 158:17–25); S
  13
                                                  (Captain J. Brown Depo., p. 99:8–17);
  14
                                                  & T (Sgt. J. Perkins Depo., p. 33:4–7)
  15
        6. The subject CH-53E and the prior
  16
        models, CH-53A, CH-53D and RH-            Objection: compound, and vague and
  17
        53D, share a similar landing gear         ambiguous as to the meaning of
  18
        control system, consisting of five        “similar” in this context.
  19
        protective interlocks. Two interlocks     Further objection that this statement is
  20
        are operated by the pilot — the up and    incoherent and unanswerable as
  21
        down control handle and a separate        written.
  22
        lock to prevent inadvertent actuation.    Without waiving these objections, it is
  23
        Two other interlocks are “Weight on       disputed.
  24
        Wheels” (WOW) switches associated         The wiring scheme for the CH-53E is
  25
        with each of the two main landing         conceptually and physically distinct
  26
        gear, which prevent the landing gear      from that of the RH-53D.
  27
        from being retracted while the aircraft   Lawrence Decl., para. 6; Exs. A (-
  28
                                                    5
         PLAINTIFFS’ RESPONSE TO STATEMENT                    CASE NO. 3:13-CV-00331-GPC-KSC
         OF UNDISPUTED FACTS OF SIKORSKY
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   1    MOVING PARTY’S                           OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                      AND SUPPORTING EVIDENCE
   2    FACTS AND SUPPORTING
   3    EVIDENCE
        is on the ground. The fifth interlock    53D Schematic (SIK024984)) & B (-
   4
        consists of landing gear safety pins —   53E Schematic (SIK008384))
   5
        one for each of the two main
   6
        landing gear, and one for the nose       It is further disputed that the wiring
   7
        landing gear. These are mechanical       between the “two cockpit interlocks”
   8
        locks that prevent each of the gear      and the “two WOW switches”
   9
        from being retracted on the ground.      terminates at any hydraulic
  10
        The two cockpit interlocks and the two component. A separate length of wire
  11
        WOW switches are connected by            runs from the control panel to the
  12
        electrical wiring terminating at the     hydraulic components; this entire
  13
        hydraulic components which               length is downstream of the WOW
  14
        move the landing gear upon pilot         switches.
  15
        command. The three landing gear          Shepardson Decl., Exs. F
  16
        safety pins are independent of the       (Bloomfield Report), paras. 10 & 15;
  17
        cockpit and WOW switches, and            & U (Technical Manual), pp.
  18
        “downstream” of all components           MIL100991–92.
  19
        which operated the landing gear.
  20
        [Wakefield Decl., ¶ 5;
  21
        Knox Decl., ¶¶8-12]
  22
        7. Military investigators determined
  23
        that an electrical short somewhere       Disputed.
  24
        along the 437 inches of wire that        The Marine avionicsmen who
  25
        connects the landing gear control        performed the military’s inspection
  26
        panel in the cockpit to a hydraulic      identified the damaged portions of
  27
        utility module activated the three       wire where shorting could have
  28
                                                   6
         PLAINTIFFS’ RESPONSE TO STATEMENT                   CASE NO. 3:13-CV-00331-GPC-KSC
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   1    MOVING PARTY’S                            OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                       AND SUPPORTING EVIDENCE
   2    FACTS AND SUPPORTING
   3    EVIDENCE
        landing gear to command retraction        occurred.
   4
        while the helicopter was on the           Shepardson Decl., Exs. H (Wuthrich
   5
        ground.                                   Report) & I (Bare Wire Photos)
   6
        [Hickey Decl., Ex. A, Opinion 5
   7
        (p.12-13)]
   8
        8. Military investigators found several   Objection: vague and ambiguous as to
   9
        portions this electrical wire had         the meaning of “several” and
  10
        degraded lamination and exposed wire “degraded” in this context.
  11
        [Hickey Decl., Ex. A, Opinion 6           Without waiving said objections, it is
  12
        (p.13); D, Material Factors #1 and #2     undisputed that the Marine
  13
        (p.1)]                                    avionicsmen who performed the
  14
                                                  military’s inspection identified
  15
                                                  damaged portions of Spec-55 wire
  16
                                                  where shorting could have occurred.
  17
                                                  Shepardson Decl., Exs. H (Wuthrich
  18
                                                  Report) & I (Bare Wire Photos)
  19
        9. This “interconnect” wire starts at     Objection: compound and vague and
  20
        the landing gear control panel in the     ambiguous as to the meaning of “this
  21
        cockpit as “Kapton” wire. Three           ‘interconnect’ wire” in this context.
  22
        hundred sixty-seven (367) inches of       Without waiving said objections, it is
  23
        the Kapton wire routes toward the rear undisputed for the purposes of this
  24
        of the helicopter, and is spliced to 70   Motion that these measurements of the
  25
        inches of “Spec 55” wire.                 up- and down-command wiring
  26
        [Hickey Decl., Ex. C (p.2-3)]             leading from the control panel to the
  27
                                                  hydraulic utility module are
  28
                                                    7
         PLAINTIFFS’ RESPONSE TO STATEMENT                    CASE NO. 3:13-CV-00331-GPC-KSC
         OF UNDISPUTED FACTS OF SIKORSKY
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   1    MOVING PARTY’S                           OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                      AND SUPPORTING EVIDENCE
   2    FACTS AND SUPPORTING
   3    EVIDENCE
                                                 approximately correct.
   4
        10. Military investigators found that
   5
        the Kapton portion of the wire           Disputed.
   6
        “showed significant degradation, and     The Marine avionicsmen who
   7
        several indications of moisture          performed the military’s inspection
   8
        and possible arcing,” and that the non- expressly found that none of the
   9
        Kapton wire “also had possible           Kapton wire was degraded or
  10
        exposure sites.”. .“                     damaged. Shepardson Decl., Ex. H
  11
        [Hickey Decl., Ex. A, Opinion 6          (Wuthrich Report), p. 2.
  12
        (p.13)]
  13
        11. Military investigators found that
  14
        Kapton wiring degradation had            Disputed.
  15
        previously caused a similar              This finding was made by Sikorsky,
  16
        inadvertent landing gear retraction of a not the military.
  17
        CH53-E helicopter in 2005.               Hickey Decl., Ex. A (Command
  18
        [Hickey Decl., Ex. A, Findings           Investigation Report), Enclosures 41
  19
        of Fact 69 (p.11)]                       (Sikorsky Materials Engineering
  20
                                                 Report [MIL073205–73213]) & 43
  21
                                                 (Sikorsky Report [MIL07316–73226])
  22
                                                 The only damaged wire identified by a
  23
                                                 military investigating officer (“IO”)
  24
                                                 was Spec-55-type wire, not Kapton.
  25
                                                 [JAGMAN p. 2 (description of
  26
                                                 Enclosure No. 42); Enclosure 42;
  27
                                                 Shepardson Decl., Exs. H (Wuthrich
  28
                                                    8
         PLAINTIFFS’ RESPONSE TO STATEMENT                   CASE NO. 3:13-CV-00331-GPC-KSC
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   1    MOVING PARTY’S                            OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                       AND SUPPORTING EVIDENCE
   2    FACTS AND SUPPORTING
   3    EVIDENCE
                                                  Report), I (Bare Wire Photos); L
   4
                                                  (Stone Depo., pp. 78:17–84:4)
   5
        12. Military investigators found that
   6
        Sgt. Fontalvo, a CDQAR and duty           Objections: compound.
   7
        expert with respect to the landing gear   Further objection to the extent these
   8
        system, should have recognized the        statements are legal conclusions rather
   9
        danger of a stuck safety pin because it   than facts.
  10
        indicated that the landing gear was       Without waiving said objections, it is
  11
        under pressure to retract; and that “a    disputed that any “military
  12
        significant training issue with respect   investigator” found that SSgt.
  13
        to maintenance publications and the       Fontalvo “should have recognized the
  14
        landing gear safety pins.”                danger”; this is a gross
  15
        [Hickey Decl., Ex. D, Human Factors       misrepresentation of the evidence.
  16
        #1 and #2 (p.1 -2)]                       Hickey Decl., Ex. D, Human Factors
  17
                                                  #1 and #2 (p.1 -2)]
  18
                                                  Without waiving said objections, it is
  19
                                                  undisputed that the Investigating
  20
                                                  Officer Major Ian Stevens observed,
  21
                                                  “There exists a significant training
  22
                                                  issue with respect to maintenance
  23
                                                  publications and the landing gear
  24
                                                  safety pins.”
  25
                                                  Hickey        Decl., Ex. A (Command
  26
                                                  Investigation Report), p. 13, para. 10.
  27
                                                  [MIL073018]
  28
                                                    9
         PLAINTIFFS’ RESPONSE TO STATEMENT                      CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                             OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                        AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE

    4
        13. Plaintiffs sued Sikorsky and
    5
        DuPont for defects in the landing gear     Undisputed.
    6
        and wiring systems, alleging that the
    7
        “wire path leading to the landing
    8
        gear was subject to an unplanned and
    9
        uncommanded energization” that
   10
        caused the landing gear to retract.
   11
        [Plaintiffs’ Second Amended
   12
        Complaint, Dkt. 71, ¶ 17]
   13
        14. More particularly as to Sikorsky,
   14
        Plaintiffs allege that the landing gear    Undisputed
   15
        system was defectively designed due
   16
        to the configuration which juxtaposed
   17
        a wiring harness and wire path
   18
        “downstream of any and all interlocks
   19
        and failsafes capable of preventing
   20
        gear retraction in the event of
   21
        unplanned energization.”
   22
        [Plaintiffs’ Second Amended
   23
        Complaint, Dkt. 71, ¶ 13]
   24
        15. As to DuPont, Plaintiffs allege that
   25
        its Kapton wire in the wire path           Undisputed that this allegation is
   26
        leading from the landing gear control      contained in the Second Amended
   27
        to the landing gear assembly was           Complaint.
   28
                                                    10
          PLAINTIFFS’ RESPONSE TO STATEMENT                 CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                           OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                      AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        defective due to degradation which
    4
        made it prone to unplanned energizing
    5
        events.
    6
        [Plaintiffs’ Second Amended
    7
        Complaint, Dkt. 71, ¶ 14]
    8
        16. The subject military CH-53E was
    9
        designed in response to U.S. Navy        Disputed.
   10
        specific operational needs for a Heavy   As to the feature at issue, the landing
   11
        Lift Helicopter with increased lift      gear wiring harness, there is no
   12
        capacity, compatibility with             commonality since the hydraulic
   13
        amphibious shipping, and maximum         utility manifold is configured
   14
        commonality with the existing H-         differently.
   15
        53 series helicopter. The CH-53E         Lawrence Decl., paras. 10–11; Exs.
   16
        derives from earlier models — CH-        A (-53D Schematic (SIK024984)) &
   17
        53A, CH-53D and RH-53D (U.S.             B (-53E Schematic (SIK008384));
   18
        Navy variant).                           Knox. Decl. [Doc. No. 164-9], para. 9;
   19
        [Wakefield Decl. ¶~ 4,5, Ex. 2; Knox     Shepardson Decl., Ex. D (Knox
   20
        Decl., ¶ 7]                              Depo., pp. 50:15–53:3)
   21
        17. Congress began appropriating
   22
        funds for the CH-53E in 1970, and the    Undisputed for the purposes of this
   23
        Department of Defense authorized the     Motion.
   24
        Navy to proceed with development
   25
        in November 1971.
   26
        [Wakefield Decl., Ex. 2]
   27
        18. The U.S. Navy’s airworthiness
   28
                                                  11
          PLAINTIFFS’ RESPONSE TO STATEMENT                 CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                           OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                      AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        authority, NAVAIR, which is staffed      Undisputed for the purposes of this
    4
        with more than 1,000 engineers,          Motion.
    5
        awarded design contracts to Sikorsky
    6
        for development of the CH-53E,
    7
        which began with design and
    8
        production of prototype helicopters.
    9
        Sikorsky submitted hundreds of
   10
        engineering reports and drawings to
   11
        NAVAIR pursuant to contractual
   12
        requirements, which the Navy
   13
        reviewed for purposes of development
   14
        of a Detailed Specifications for the
   15
        CH-53E.
   16
        [Wakefield Decl., ¶¶ 6, 7; Hickey
   17
        Decl., Ex. E, Leigh Deposition at
   18
        98:19-100:4]
   19
        19. The landing gear control system of
   20
        the CH-53A, CH-53D, RH-53D, and          Disputed.
   21
        CH-53E developmental and pre-            As to the feature at issue, the landing
   22
        production prototypes was carried        gear wiring harness, there is no
   23
        forward into the CH-53E production       commonality since the hydraulic
   24
        contracts, including the accident        utility manifold is configured
   25
        helicopter (BuNo 163077), utilizing      differently.
   26
        the same essential electrical wiring     Lawrence Decl., paras. 10–11; Exs.
   27
        interconnect system, and five            A (-53D Schematic (SIK024984)) &
   28
                                                  12
          PLAINTIFFS’ RESPONSE TO STATEMENT                  CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                        OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                   AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        interlocks, which system the Navy had B (-53E Schematic (SIK008384));
    4
        operated and maintained on the earlier    Knox. Decl. [Doc. No. 164-9], para. 9;
    5
        models.                                   Shepardson Decl., Ex. D (Knox
    6
        [Wakefield Decl., ¶¶ 7, Ex. 3-6;          Depo., pp. 50:15–53:3)
    7
        Knox Decl., ¶¶ 7-12]
    8
        20. In its development of the CH-53E,
    9
        NAVAIR officials and engineers held       Undisputed for the purposes of this
   10
        hundreds of meetings with Sikorsky        Motion.
   11
        engineers and program management
   12
        personnel on all aspects of the design
   13
        specification, including items that
   14
        would be changed from the CH/RH-
   15
        53D. These meetings included safety
   16
        meetings, conferences and Preliminary
   17
        and Critical Design Reviews.
   18
        NAVAIR or its designated USG
   19
        personnel assigned to, and residing at,
   20
        the Sikorsky facility (NAVPRO —
   21
        Naval Procurement, now called
   22
        DCMA), reviewed all the engineering
   23
        drawings, test plans and test reports.
   24
        They had technical interchange
   25
        meetings during the design, and
   26
        reviews of design following testing to
   27
        ensure the helicopter was compliant
   28
                                                   13
          PLAINTIFFS’ RESPONSE TO STATEMENT                 CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                           OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                      AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        with the government’s specifications.
    4
        [Wakefield Decl., ¶ 8]
    5
        21. NAVAIR proceeded to contract
    6
        further with Sikorsky Aircraft for the   Undisputed for the purposes of this
    7
        continued design and development of      Motion.
    8
        the CH-53E. Contract N00019-
    9
        73-C-0228 was a Research &
   10
        Development contract which included
   11
        the Navy’s CH-53E Detailed
   12
        Specification, SD-552-3 , and
   13
        consisted of two parts:
   14
              • Phase I was a Research &
   15
        Development Contract for Sikorsky
   16
        Aircraft to produce the design
   17
        (drawings), complete the
   18
        development, and conduct trade off
   19
        studies for CH-53E. (with FY-73
   20
        funding).
   21
              • Phase II was Research &
   22
        Development Contract for Sikorsky
   23
        Aircraft to fabrication of two
   24
        prototype helicopters for Sikorsky
   25
        and USN to conduct ground and flight
   26
        testing. (YCH-53E 159121 &
   27
        159122).
   28
                                                  14
          PLAINTIFFS’ RESPONSE TO STATEMENT                CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                             OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                        AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        [Wakefield Decl., ¶ 9]
    4
        22. Beginning in 1974, the design
    5
        phase prototypes underwent extensive       Disputed.
    6
        flight testing with both Sikorsky and      There is no evidence that the sub-
    7
        Navy test pilots and engineers, which      system pertinent to this case, the
    8
        consisted of multiple hundreds of          landing gear wiring harness and its
    9
        flight test hours. All aspects of the      connections to the hydraulic utility
   10
        helicopters were tested, including sub- module, were evaluated in any way by
   11
        system evaluations. NAVAIR issued          NAVAIR.
   12
        Naval Air Test Center Deficiency           Shepardson Decl., Ex. B (Wakefield
   13
        Reports for any deficiency discovered      Depo., pp. 82:10–15, 136:17–142:13;
   14
        during flight testing. Meetings were       & V (Leigh Depo., pp. 142:16–
   15
        held between NAVAIR and Sikorsky           144:16)
   16
        engineers and program personnel
   17
        concerning the reports. Resolution and
   18
        design decisions were always made by
   19
        NAVAIR.
   20
        [Wakefield Decl., ¶ 10]
   21
        23. Following the design review and
   22
        flight testing of the design prototypes,   Undisputed for the purposes of this
   23
        the Detailed Specification SD-552-3        Motion.
   24
        was revised and updated. The changes
   25
        were documented in Sikorsky
   26
        Engineering Report 13197. NAVAIR
   27
        awarded another contract for
   28
                                                    15
          PLAINTIFFS’ RESPONSE TO STATEMENT                    CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                            OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                       AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        fabrication of two additional “pre-
    4
        production” prototypes based on
    5
        the revised Detail Specification. These
    6
        prototypes were designated BUNO
    7
        159876 and159877, and they also
    8
        underwent additional hundreds of
    9
        hours of flight testing by Navy test
   10
        pilots, which results were evaluated by
   11
        NAVAIR engineers.
   12
        [Wakefield Decl., ¶ 11, Ex. 4]
   13
        24. As a result of Navy evaluation and
   14
        testing of the pre-production             Disputed.
   15
        prototypes, NAVAIR made additional        This statement is a gross
   16
        changes to the Detailed Specification     misrepresentation of the record.
   17
        which would control the production        The document cited (SER-13300
   18
        helicopter. The changes were              [SIK013500 et seq. (Wakefield Decl.,
   19
        documented in Sikorsky Engineering        Ex. 7)]) on its face reflects that this
   20
        Report SER 13300, dated September         document contains proposed features
   21
        9, 1977. One significant change made      and specifications—proposed by
   22
        by NAVAIR was the requirement that        Sikorsky, not NAVAIR.
   23
        Kapton wiring be incorporated             There is no evidence that this
   24
        into all electrical harnesses pursuant to “change” was made by NAVAIR.
   25
        MIL-W-81381. The U.S. Navy                Shepardson Decl., Ex. B (Wakefield
   26
        approved the CH-53E for service use,      Depo., pp. 82:10–15, 136:17–142:13;
   27
        with a specific requirement to            & V (Leigh Depo., pp. 142:16–
   28
                                                   16
          PLAINTIFFS’ RESPONSE TO STATEMENT                  CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                           OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                      AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        use Kapton wiring, on April 15, 1980.    144:16)
    4
        [Wakefield Decl., ¶ 12, Ex. 7, at
    5
        ¶3.1.46 (SIKK01361 1)]
    6
        25. Approximately 90 installation
    7
        drawings showing “clamping, routing      Disputed. There is no evidence of
    8
        and mounting” of wiring were             this, and the referenced evidence do
    9
        required to be submitted for NAVAIR      not support any submission of “90
   10
        review and approval. The Navy also       installation drawings” of wiring or
   11
        reviewed and approved certain            anything else.
   12
        changes in routing and location of       There is no evidence that the sub-
   13
        wiring paths.                            system pertinent to this case, the
   14
        [Wakefield Decl., ¶ 7, 8 and 12 (SER     landing gear wiring harness and its
   15
        13300 at 3.1.46 (SIK013611); Hickey      connections to the hydraulic utility
   16
        Decl., Ex. E, Leigh Deposition at        module, were evaluated in any way by
   17
        98:19-100:4]                             NAVAIR.
   18
                                                 Shepardson Decl., Ex. B (Wakefield
   19
                                                 Depo., pp. 82:10–15, 136:17–142:13;
   20
                                                 & V (Leigh Depo., pp. 142:16–
   21
                                                 144:16);
   22
                                                 Lawrence Decl. para. 6.
   23
        26. Design development reports reflect
   24
        that the hydraulic system's weight
   25
        would be reduced by manifolding and      Disputed to the extent Sikorsky is
   26
        relocating components to shorten line    attempting to use this as evidence that
   27
        routing.                                 the CH-53E hydraulic manifold
   28
                                                  17
          PLAINTIFFS’ RESPONSE TO STATEMENT                 CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                          OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                     AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        [Wakefield Decl., ¶8-9, 12              configuration had been “designed” as
    4
        (SER 13300 at 3.1.74 (SIK013664)]       of the date of the issuance of SER-
    5
                                                13300. On its face, this document
    6
                                                reflects that Sikorsky was merely
    7
                                                proposing further study.
    8
                                                Wakefield Decl., Ex. 7 (SER 13300 at
    9
                                                3.1.74 (SIK013664)]
   10
        27. The engineering reports confirm
   11
        that they contain those changes         Disputed.
   12
        "agreed to by NAVAIR" for               This statement is a gross
   13
        incorporation into the production       misrepresentation of the record.
   14
        helicopter. The development and         The document cited (SER-13300
   15
        qualification process could not         [SIK013500 et seq.]) on its face
   16
        proceed unless and until NAVAIR         reflects that many design features
   17
        engineers approved all aspects of the   were still in the
   18
        design.                                 investigation/development phase,
   19
        [Wakefield Decl., ¶ 7-12 (SER 13300     meaning NAVAIR could not have
   20
        at 1.0 (SIK013513); SER 13197 at        “approved all aspects of the design.”
   21
        SIK 012485); Knox Decl., ¶ 9]           (SER 13300 at 3.1.74 (SIK013664)].
   22
                                                There is no evidence that the sub-
   23
                                                system pertinent to this case, the
   24
                                                landing gear wiring harness and its
   25
                                                connections to the hydraulic utility
   26
                                                module, were evaluated in any way by
   27
                                                NAVAIR.
   28
                                                 18
          PLAINTIFFS’ RESPONSE TO STATEMENT                 CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                           OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                      AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
                                                 Shepardson Decl., Ex. B (Wakefield
    4
                                                 Depo., pp. 82:10–15, 136:17–142:13;
    5
                                                 & V (Leigh Depo., pp. 142:16–
    6
                                                 144:16);
    7
                                                 Lawrence Decl. para. 6.
    8
        28. Beginning in approximately 1978,
    9
        the Navy entered into a series of        Disputed.
   10
        production contracts with Sikorsky       The CH-53E features at issue in this
   11
        based on the finalized production        action, the landing gear wiring harness
   12
        specification issued by NAVAIR.          and its connection to the hydraulic
   13
        The Navy procured a total of 229         manifold, were not identified for
   14
        CH/MH-53E aircraft under these           change during the proposal phase for
   15
        production contracts, which were         any contract under which CH-53Es
   16
        ordered in twenty-one production lots.   were built.
   17
        Changes to the Detail Specification      Mr. Wakefield confirmed at his
   18
        were identified during the proposal      deposition that no changes were made
   19
        phase for each respective contract.      to any part of the detail specification
   20
        Lots 1-8 were governed by separate,      for the landing gear system from the
   21
        one-year contracts. Lots 9-12,           first preliminary specification (SD-
   22
        consisting of 26 CH-53E and 29 MH-       552-3) was proposed by Sikorsky to
   23
        53E helicopters, were governed by a      the delivery of the Subject Aircraft
   24
        single multiyear contract.               under the revised Detail Specification
   25
        [Wakefield Decl., ¶ 13, Ex. 8]           SD-552-3-9. Shepardson Decl., Ex.
   26
                                                 B (Wakefield Depo., pp. 156:5–160:6,
   27
                                                 162:5–7; C (Preliminary Spec SD-
   28
                                                  19
          PLAINTIFFS’ RESPONSE TO STATEMENT                 CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                            OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                       AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
                                                  552-3 Secs. 3.8.2 (pp. 50 (SIK015015)
    4
                                                  to 52 (SIK015017)); 3.8.4 (p. 52
    5
                                                  (SIK015015));
    6
                                                  Wakefield Decl., Ex. 10 (Detail Spec
    7
                                                  SD-552-3-9), Secs. 3.8.2 (pp. 49
    8
                                                  (SIK007081) to 51 (SIK007083)); and
    9
                                                  3.8.4 (pp. 51–52 (SIK007083–84)
   10

   11
        29. The subject helicopter, BUNO          Undisputed.
   12
        163077, was ordered in Lot 12, under
   13
        Contract Number N00 10-85-C-0066,
   14
        pursuant to Detailed Specification SD-
   15
        552-3-9 which incorporated military
   16
        specifications including MIL-W-
   17
        5088F ("Wiring, Aerospace Vehicles")
   18
        which, in turn, incorporated 66
   19
        additional military specification
   20
        and standards concerning the design
   21
        and construction of electrical systems.
   22
        [Wakefield Decl., ¶14, Ex. 9-11]
   23
        30. Kapton wiring was new to the CH-
   24
        53E, and required by the specification.   Undisputed for the purposes of this
   25
        [Wakefield Decl., ¶12]                    Motion.
   26
        31. Pursuant to the requirement that
   27
        the CH-53 E maintain maximum              Disputed.
   28
                                                   20
          PLAINTIFFS’ RESPONSE TO STATEMENT                   CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                           OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                      AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        commonality with the H-53D, the          The wiring scheme for the CH-53E is
    4
        landing gear control system,             conceptually and physically distinct
    5
        including interlocks, were the same as   from that of the RH-53D; in the RH-
    6
        the CH-53D and RH-53D.                   53D, the up- and down-command
    7
        [Wakefield Decl., ¶5; Knox               valves on the hydraulic module were
    8
        Decl., ¶ 8, 10-12]                       controlled by wires contained in a
    9
                                                 single plug (“P499”) [SIK024984];
   10
                                                 whereas in the CH-53E, the up- and
   11
                                                 down-command wires were housed in
   12
                                                 separate cannon plugs, “P494” and
   13
                                                 “P495.” [SIK008384.] This is the key
   14
                                                 defective design feature that caused
   15
                                                 the wire damage and short in this case.
   16
                                                 Bloomfield Decl., paras. 3–6.
   17

   18
        32. Configuration of the hydraulic       Disputed.
   19
        utility module was also different from   This statement is a gross
   20
        the CH-53D, in that it combined the      misrepresentation of the record.
   21
        hydraulic functions into a single unit   The document cited (SER-13300
   22
        (Knox Decl., ¶ 9). This change was       [SIK013500 et seq.]) on its face
   23
        reviewed and approved by NAVAIR.         reflects that many design features
   24
        [Knox Decl., ¶9; Wakefield               were still in the
   25
        Decl., ¶8-9, 12 (SER 13300               investigation/development phase,
   26
        at 3.1.74 (SIK013664)]                   meaning NAVAIR could not have
   27
                                                 “approved all aspects of the design.”
   28
                                                  21
          PLAINTIFFS’ RESPONSE TO STATEMENT                  CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                       OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                  AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
                                             (SER 13300 at 3.1.74 (SIK013664)].
    4
                                             There is no evidence that the sub-
    5
                                             system pertinent to this case, the
    6
                                             landing gear wiring harness and its
    7
                                             connections to the hydraulic utility
    8
                                             module, were evaluated in any way by
    9
                                             NAVAIR.
   10
                                             Shepardson Decl., Ex. B (Wakefield
   11
                                             Depo., pp. 82:10–15, 136:17–142:13;
   12
                                             & V (Leigh Depo., pp. 142:16–
   13
                                             144:16);
   14
                                             Lawrence Decl. para. 6.
   15
        33. Per the contract, Sikorsky is
   16
        prohibited from making any changes   Objection: this is a legal conclusion
   17
        to the aircraft system without       rather than a fact.
   18
        government approval.                 Further objection: vague and
   19
        [Wakefield Decl., ¶ 15. Ex. 9,       ambiguous as to the meaning of
   20
        at section H-7, p.7-32 (SIK06938)]   “prohibited,” “changes,” “aircraft
   21
                                             system,” and “government approval”
   22
                                             in this context; incoherent and
   23
                                             unanswerable as written.
   24
                                             Without waiving said objections, this
   25
                                             statement is disputed.
   26
                                             Sikorsky had at all times full
   27
                                             discretion over the design of the sub-
   28
                                              22
          PLAINTIFFS’ RESPONSE TO STATEMENT             CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                           OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                      AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
                                                 system pertinent to this case, because
    4
                                                 there is no evidence that the landing
    5
                                                 gear wiring harness, and its
    6
                                                 connections to the hydraulic utility
    7
                                                 module, were evaluated in any way by
    8
                                                 NAVAIR.
    9
                                                 Shepardson Decl., Ex. B (Wakefield
   10
                                                 Depo., pp. 82:10–15, 136:17–142:13;
   11
                                                 & V (Leigh Depo., pp. 142:16–
   12
                                                 144:16);
   13
                                                 Lawrence Decl. para. 6.
   14
        34. The Navy closely monitors the
   15
        production of helicopters                Objection: compound; vague,
   16
        manufactured by Sikorsky. The            ambiguous, and constitutes a
   17
        NAVAIR' s participation is extensive     subjective characterization rather than
   18
        and NAVAIR approvals are                 a fact.
   19
        documented every step of the way on      Without waiving said objections, this
   20
        the production line. This process        statement is disputed.
   21
        includes, but is not limited to,         There is no evidence that the sub-
   22
        reviewing and approving every            system pertinent to this case, the
   23
        drawing before it is used for            landing gear wiring harness and its
   24
        production, reviewing and approving      connections to the hydraulic utility
   25
        all test plan and the results of those   module, were evaluated in any way by
   26
        tests, reviewing and approving every     NAVAIR.
   27
        flight test by Sikorsky personnel,       Shepardson Decl., Ex. B (Wakefield
   28
                                                  23
          PLAINTIFFS’ RESPONSE TO STATEMENT                 CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                             OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                        AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        conducting quality inspections during      Depo., pp. 82:10–15, 136:17–142:13;
    4
        manufacture, reviewing the build file,     & V (Leigh Depo., pp. 142:16–
    5
        and ensuring the helicopter is             144:16);
    6
        compliant with the government's            Lawrence Decl. para. 6.
    7
        specifications. Full-time on-site
    8
        U.S. government personnel
    9
        (NAVPRO, now DCMA) assigned to
   10
        the Sikorsky facility conduct
   11
        a final quality acceptance inspection
   12
        and Navy and Marine Corps pilots fly
   13
        each aircraft, to make sure the aircraft
   14
        is built the way NAVAIR requires.
   15
        [Wakefield Decl., ¶ 16]
   16
        35. The production build of the subject
   17
        helicopter BUNO 163077 was                 Disputed.
   18
        monitored and approved by Navy             The Subject Helicopter did not
   19
        engineers, inspectors, manufacturing       conform to MIL-W-5088F, which is
   20
        personnel and pilots stationed on          incorporated by reference into
   21
        site at Sikorsky in Stratford,             Detailed Specification SD-552-
   22
        Connecticut, who confirmed that the        3-9, due to excessive slack in the P494
   23
        aircraft conformed to the contract and     wire., improper strain relief in the
   24
        to Detailed Specification SD-552-          P495 wire, and general improper
   25
        3-9.                                       routing, bundling, support and anti-
   26
        [Wakefield Decl., ¶17.]                    chafe protection.
   27
                                                   Shepardson Decl., Exs. A (SIR), pp.
   28
                                                    24
          PLAINTIFFS’ RESPONSE TO STATEMENT                   CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                             OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                        AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
                                                   44–45 [MIL073522–23 (paras. 45 &
    4
                                                   50)]; G (Coffman Report), p. 3; H
    5
                                                   (Wuthrich Report), p. 1; & X
    6
                                                   (Bloomfield Depo.), pp. 192:25–
    7
                                                   193:10)
    8
        36. Following the NAVAIR's final
    9
        inspection and flight testing certifying   Undisputed for the purposes of this
   10
        compliance with all specifications, the    Motion.
   11
        government accepted the subject
   12
        aircraft on September 30, 1990.
   13
        Sikorsky never received any notice
   14
        from the government regarding any
   15
        deficiency or failure to meet the
   16
        government's specifications.
   17
        [Wakefield Decl., ¶18, Ex. 12]
   18
        37. The DD-250 is the government's
   19
        acceptance of the specific aircraft.       Objection: vague, ambiguous,
   20
        [Wakefield Decl., ¶18                      incoherent and unanswerable as
   21
                                                   written.
   22
                                                   Without waiving said objections, it is
   23
                                                   undisputed that for “DD-250”
   24
                                                   memorializes the transfer of
   25
                                                   ownership from Sikorsky to the
   26
                                                   military.
   27
        38. Sikorsky did not, and was not
   28
                                                    25
          PLAINTIFFS’ RESPONSE TO STATEMENT                    CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                           OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                      AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        contractually required to provide any    Disputed.
    4
        manuals to the Navy for the CH-53E.      Sikorsky did, and was under Contract
    5
        The Detail Specification states that     No. N100140-91-D-DA28 to, prepare
    6
        these publications "will be furnished    and provide manuals for the CH-53E.
    7
        by the Government as specified in the    Up until February 1990, Sikorsky
    8
        publications requirements of the         Customer Service had personnel
    9
        contract."                               dedicated to “publications and
   10
        [Wakefield Decl., ¶20, Ex. 10, at ¶      training”; after February 1990 those
   11
        3.23.3]                                  personnel were integrated with
   12
                                                 Sikorsky’s logistics support personnel
   13
                                                 to form the Technical Support
   14
                                                 Services department.
   15
                                                 Shepardson Decl., Ex. AA
   16
                                                 (Publications Proposal for ECP2162),
   17
                                                 Cover Letter [SIK021989];
   18
                                                 Attachment A to Enclosure (3)
   19
                                                 [SIK022034]
   20

   21
        39. Although the Navy specification
   22
        for the CH- 53E required the use of      Undisputed for the purposes of this
   23
        Kapton wiring, the Navy recognized       Motion.
   24
        well before the subject CH-53E was
   25
        manufactured, that there that there
   26
        were "many problems inherent in our
   27
        Navy aircraft wiring systems" and that
   28
                                                  26
          PLAINTIFFS’ RESPONSE TO STATEMENT                CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                             OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                        AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        the "maintainability and durability
    4
        aspects in many of our current aircraft
    5
        wiring systems have been
    6
        compromised by the use of [Kapton
    7
        wire] which is the predominant type
    8
        wire installed in Naval aircraft." After
    9
        conducting several studies, the Navy
   10
        concluded in 1985 that Kapton
   11
        "exhibits properties that are not
   12
        acceptable for continued installation in
   13
        Naval aircraft."
   14
        [Wakefield Decl., ¶ 22, Ex. 13-16]
   15
        40. Sikorsky made formal requests to
   16                                              Undisputed for the purposes of this
        the Navy that it be permitted to submit
   17                                              Motion.
        an engineering change proposal to
   18
        replace Kapton wiring. The
   19
        Navy declined Sikorsky's requests,
   20
        and stated in one internal
   21
        memorandum dated July 22, 1987
   22
        regarding the "status of Kapton wire in
   23
        H-53 aircraft" that "C/MH-53E
   24
        contains Kapton but is under a
   25
        multiyear procurement (FY 1986-89).
   26
        We do not have a firm quote from
   27
        Sikorsky Aircraft, but to modify the
   28
                                                    27
          PLAINTIFFS’ RESPONSE TO STATEMENT                  CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                           OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                      AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        multiyear specification at this
    4
        time would be both prohibitively
    5
        expensive and untimely." Sikorsky
    6
        recommend for the third time
    7
        at a meeting in November 1998, that
    8
        all wiring be replaced in the CH/MH-
    9
        53E. The Navy again rejected this
   10
        recommendation.
   11
        [Wakefield Decl., ¶22, Ex. 13-16]
   12   41. In 1989, the Navy decided to
   13   remove Kapton wire from the CH-53E Undisputed for the purposes of this
   14   specification and replace it with Spec   Motion.
   15   55 wire. However, the Navy
   16   determined the change would start
   17   with LOT 13. Since the subject
   18   helicopter, BUNO 163077, was
   19   manufactured as part of LOT 12,
   20   Sikorsky was required by the
   21   government to manufacture the subject
   22   helicopter using Kapton wiring.
   23   [Wakefield Decl., ¶23, Ex. 17]
   24   42. Although the Navy switched to the
   25   use of Spec-55 wire for production       Undisputed.
   26   aircraft beginning with Lot 13, the
   27   Navy decided not to replace Kapton
   28
                                                  28
          PLAINTIFFS’ RESPONSE TO STATEMENT                CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                         OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                    AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        wiring in helicopters already produced
    4
        or that were being produced as part of
    5
        LOT 12, including the subject
    6
        helicopter BUNO 163077. In a
    7
        memorandum dated July 7, 1987, the
    8
        Navy stated that although other
    9
        aircraft may be retrofitted with new
   10
        wiring, removal from the CH-53E
   11
        "would be disapproved." It was not
   12
        until 2004 that the Navy began
   13
        retrofitting old CH-53E helicopters
   14
        under a Kapton Replacement Program,
   15
        which is currently scheduled to be
   16
        completed by the end of 2017.
   17
        [Wakefield Decl., ¶24, Ex. 18]
   18
        43. In a memorandum dated February
   19
        6, 1989, the Navy authorized Navy          Disputed.
   20
        and Marine Corps to use Spec-55            Both the Kapton and Spec-55 lengths
   21
        wiring as a substitute for Kapton, but     of the Subject Aircraft’s landing gear
   22
        only for "repair, modification,            wiring harness were original to the
   23
        engineering changes and replacements manufacture of the Subject Aircraft.
   24
        ... " The rest of the subject wire (367    Shepardson Decl., Exs. A (SIR), p.
   25
        inches) was required to be Kapton per      45 [MIL073523], para. 45; & K
   26
        the government's SD-552-3-9                (Stelzer Depo.), pp. 118:14–119:16.
   27
        specification, section 3.16.5. Thus, the
   28
                                                    29
          PLAINTIFFS’ RESPONSE TO STATEMENT                  CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                             OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                        AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        Kapton portion of the subject wire
    4
        (367 inches) is almost certainly the
    5
        original, 20-year-old wire, while the
    6
        Spec-55 portion (70 inches) could also
    7
        be the original wire or per the Navy's
    8
        February 6, 1989, could also be a
    9
        more recent replacement per a USMC
   10
        maintenance task that occurred
   11
        sometime between delivery in 1990
   12
        and the accident in March 2011.
   13
        [Wakefield Decl., ¶ 25, Ex. 19,
   14
        20]
   15
        44. The build records for the subject
   16
        aircraft reflect that a portion of the     Disputed.
   17
        subject landing gear control wiring        The Spec-55 is not present due to a
   18
        was composed of Spec 55 wire rather        variance, and the reason for its
   19
        than Kapton. The Navy expressly            presence is known: when the hydraulic
   20
        approved this variance m wiring per        module was fabricated and partially
   21
        an engineering change order. The           assembled by Eaton Corporation, it
   22
        reason for this change is not stated but   was affixed with Spec-55 “pigtails” to
   23
        during this timeframe there was a          be spliced into the Kapton main wiring
   24
        shortage of Kapton wiring and that is      bundle.
   25
        the reason for the change.                 Shepardson Decl., Ex. K (Stelzer
   26
        [Wakefield Decl., ¶ 25, Ex. 20]            Depo.), pp. 118:14–119:16
   27
        45. The Navy conducted safety
   28
                                                    30
          PLAINTIFFS’ RESPONSE TO STATEMENT                    CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                            OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                       AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        assessment risk analyses of Kapton        Objections: compound, commentary
    4
        wiring in 2002 and 2009, before the       rather than fact.
    5
        accident. The Navy's 2009 study           Without waiving those objections, this
    6
        recognized that "catastrophic severity    statement is undisputed for the
    7
        damage due to Kapton wiring failure"      purposes of this Motion.
    8
        caused an inadvertent landing gear
    9
        retraction in 2005. (MIL230432)
   10
        Seven Navy officials reviewed and
   11
        signed the 2009 assessment, including
   12
        the Rear Admiral who signed under
   13
        "Risk Accepted," which specifically
   14
        included "an inadvertent landing gear
   15
        retraction while the aircraft is on the
   16
        ground."
   17
        [Hickey Decl., Ex. F, G (96:10-
   18
        97:12)]
   19
        46. The Navy's replacement of Kapton
   20
        wiring was delayed by funding             Objections: compound, commentary
   21
        shortages. The Navy initially planned     rather than fact.
   22
        in 1995 to replace all Kapton wiring in Without waiving those objections, this
   23
        connection with a Service Life            statement is undisputed for the
   24
        Extension Program for the CH-53E,         purposes of this Motion.
   25
        with Kapton listed as "priority #2"
   26
        under the program. By June 1, 2000,
   27
        the program was essentially
   28
                                                   31
          PLAINTIFFS’ RESPONSE TO STATEMENT                  CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                           OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                      AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        cancelled due to insufficient
    4
        Congressional funding then re-started
    5
        in 2002-03, and then dropped without
    6
        comment in 2004, after which the
    7
        Navy then instituted a phased wiring
    8
        replacement program which
    9
        prioritized replacement of more than
   10
        one hundred Kapton wire harnesses
   11
        into three phases. Inadequate funding
   12
        also delayed this program, which was
   13
        initially planned to be completed in
   14
        2011 and is currently scheduled to be
   15
        completed by the end of 2017.
   16
        [Hickey Decl., Ex. G at 64:23-
   17
        65:9; 75:10-77:5; 78:7-21;
   18
        82:3-83:14; 102:8-16]
   19
        47. The wiring in question in this
   20
        accident was part of Phase III, which    Objection: this characterization
   21
        was "still in development" at the time   misquotes the Order of the Court cited
   22
        of Sgt. Fontalvo's accident.             and attributes to the Court language
   23
        [Order Granting Defendant PKL            not found in that Order.
   24
        Services Inc. 's Motion for Summary      Without waiving those objections, this
   25
        Judgment, ECF No. 144, at pp. 3:22-      statement is undisputed for the
   26
        25, 4:1-2]                               purposes of this Motion.
   27

   28
                                                  32
          PLAINTIFFS’ RESPONSE TO STATEMENT                CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                      OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                 AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        48. NAVAIR engineers also attempted
    4
        to address wire degradation issues by      Undisputed.
    5
        modifying the CH-53E electrical
    6
        wiring interconnect system by (1)
    7
        installing an arc-fault circuit breakers
    8
        ("AFCB"), and (2) experimenting with
    9
        two-types of diagnostic clamps to
   10
        determine the level of wire damage.
   11
        [Supp. Hickey Decl., Ex. P,
   12
        Deposition of Montes de Oca
   13
        at 61:19-63: 14; 40: 15-44: 11]
   14
        49. The AFCBs were installed on
   15
        some CH-53E but ultimately all were        Undisputed.
   16
        removed because the false- detection
   17
        rate was too high. The diagnostic
   18
        clamps were also removed due to poor
   19
        performance, inability to survive the
   20
        USMC helicopter operating
   21
        environment, and because they
   22
        increased the weight of the aircraft.
   23
        [Supp. Hickey Decl., Ex. P,
   24
        Deposition of Montes de Oca
   25
        at 40:15-44:11; 74:11-75:25]
   26
        50. While these measures were due
   27
        primarily to Kapton degradation            Undisputed.
   28
                                                   33
          PLAINTIFFS’ RESPONSE TO STATEMENT                CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                             OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                        AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        issues, NAVAIR also testified that
    4
        they were experiencing problem with
    5
        all wiring due to improper Navy and
    6
        USMC maintenance actions. NAVAIR
    7
        responded to this problem by
    8
        developing wiring awareness and
    9
        inspection technique training.
   10

   11
        [Supp. Hickey Decl., Ex. P,
   12
        Deposition of Montes de Oca
   13
        at 59:9-13; 44:12-25; 50:7-51:14;
   14
        55:9-23; 57:7-10; 57:25-60:18]
   15
        51. The Marine Corps chartered a CH-
   16
        53E Super Stallion Independent             Objections: compound, commentary
   17
        Readiness Review ("SSIRR") in 2015 rather than fact.
   18
        to identify the root cause of aircraft,    Without waiving those objections, this
   19
        aircrew and maintenance readiness.         statement is undisputed for the
   20
        The report concluded the USMC CH-          purposes of this Motion.
   21
        53E fleet has been in a state of decline
   22
        since 2001 due to "the effects of very
   23
        heavy and hard usage in eleven years
   24
        of war overseas and an ineffectual
   25
        reset effort upon their return home."
   26
        The SSIRR resulted in a NAVAIR
   27
        decision to completely replace all
   28
                                                    34
          PLAINTIFFS’ RESPONSE TO STATEMENT                  CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                              OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                         AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        wiring (Kapton and Spec-55) in its
    4
        CH-53E fleet.
    5
        [Hickey Decl., Ex. M]
    6
        52. The Navy conducted a risk
    7
        assessment of helicopters from              Objections: compound, commentary
    8
        Production Lots 1-12 that contained         rather than fact.
    9
        Kapton, observing that "[t]he               Without waiving those objections, this
   10
        properties of Kapton wiring insulation      statement is undisputed for the
   11
        are such that it lends itself to causing,   purposes of this Motion.
   12
        rather than preventing electrical
   13
        problems."
   14
        [Hickey Decl., Ex. F at SIK230432]
   15
        53. A Navy survey revealed 54
   16
        incidents relating to Kapton, and           Objections: compound, commentary
   17
        causing at least 17 separate                rather than fact.
   18
        subsystems to malfunction.                  Without waiving those objections, this
   19
        [Hickey Decl., Ex. F at SIK230430,          statement is undisputed for the
   20
        434]                                        purposes of this Motion.
   21
        54. A follow-up safety risk assessment
   22
        in 2009 at referenced "catastrophic         Objections: compound, commentary
   23
        severity damage due to Kapton wiring        rather than fact.
   24
        failure" that caused an inadvertent         Without waiving those objections, this
   25
        landing gear retraction in 2005. Seven      statement is undisputed for the
   26
        Navy officials reviewed and signed          purposes of this Motion.
   27
        the assessment, including the Rear
   28
                                                     35
          PLAINTIFFS’ RESPONSE TO STATEMENT                    CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                            OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                       AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        Admiral who signed under "Risk
    4
        Accepted," which specifically
    5
        included "an inadvertent landing gear
    6
        retraction while the aircraft is on the
    7
        ground." By 2009, the Navy noted that
    8
        the number of known Kapton-related
    9
        incidents had risen from 38 to 54.
   10

   11
        [Hickey Decl., Ex. F at
   12
        SIK230434]
   13
        55. A NAVAIR Program Manager
   14
        testified in this case about the Kapton   Objections: vague and ambiguous.
   15
        wiring replacement efforts:               Without waiving these objections, it is
   16
              "Well, even every year I was        undisputed that this accurately quotes
   17
        there, it was always -- we never were     Mr. Mellen’s testimony.
   18
        able to receive funding that was
   19
        was necessary to replace all the
   20
        Kapton on all the aircraft that needed
   21
        it, which led us down this multiple
   22
        phase thing. So it was difficult to get
   23
        full funding of the entire scope of
   24
        what we had to do, which was, you
   25
        know, almost a hundred aircraft that
   26
        had to have replacement wiring in the
   27
        order of over a million dollars per
   28
                                                   36
          PLAINTIFFS’ RESPONSE TO STATEMENT                 CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                            OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                       AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        aircraft to replace it. We couldn't get
    4
        that kind of money."
    5
        [Hickey Decl., Ex. G, Mellen
    6
        Deposition at 78:7-21]
    7
        56. Plaintiff's decedent, Alexis
    8
        Fontalvo, died on March 17, 2011.         Undisputed.
    9
        [Undisputed]
   10

   11

   12
        57. Alexis Fontalvo was not married
   13
        on March 17, 2011.                        Undisputed.
   14
        [Undisputed]
   15
        58. Plaintiff T.L. was born on
   16
        February 3, 2000, to his biological       Disputed.
   17
        mother, Plaintiff Tashina Amador and      Plaintiff Tanika Long is a she, and she
   18
        biological father, Delvin Long.           was born November 10, 2000.
   19
        [Hickey Decl., Ex. H, Amador              Shepardson Decl., Ex. Y (Amador
   20
        Deposition at 43:19-20].                  Depo.), p. 43:19–20.
   21
        59. Delvin Long never provided any
   22
        financial support to Plaintiffs Tashina   Disputed.
   23
        Amador or T.L.                            Mr. Long provided some support to
   24
        [Hickey Decl., Ex. H, Amador              Tanika until August 2006 when he
   25
        Deposition at 45:23-46:8]                 was divorced from Tanika’s mother.
   26
                                                  Shepardson Decl., Ex. Y (Amador
   27
                                                  Depo.), p.45:23–25.
   28
                                                   37
          PLAINTIFFS’ RESPONSE TO STATEMENT                 CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                            OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                       AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        60. From February 3, 2000 to              Disputed.
    4
        December 2007, Tashina Amador             Mr. Long provided some support to
    5
        provided 100% of T.L.'s support.          Tanika until August 2006 when he
    6
        [Hickey Decl., Ex. H, Amador              was divorced from Tanika’s mother.
    7
        Deposition at 45:23-46:8]                 Shepardson Decl., Ex. Y (Amador
    8
                                                  Depo.), p. 45:23–25.
    9
        61. Tashina Amador's filing status on
   10
        her 2010 federal tax return was "Head     Undisputed.
   11
        of Household" with T.L. as her
   12
        qualified dependent.
   13
        [Hickey Decl., Ex. H, Amador
   14
        Deposition at 134:5-16; 138:19-139:7]
   15
        62. Alexis Fontalvo was never married
   16
        to Tashina Amador, T.L.'s mother and      Undisputed.
   17
        guardian ad litem.
   18
        [Undisputed]
   19
        63. T.L. was not dependent upon
   20
        Alexis Fontalvo for 50% or more of        Disputed.
   21
        her support in the 180 days prior to the Shepardson Decl., Ex. BB (Amador
   22
        death of Alexis Fontalvo.                 Decl.), paras. 7–8;
   23
        [Hickey Decl., Ex. H, Amador              Shepardson Decl., Ex. Y (Amador
   24
        Deposition at 45:23-46:8; Ex. K,          Depo.), p. 79:25–80:14, 81:17–82.10,
   25
        Fractor Deposition at 65:23-66:9]         160:13–25]
   26
        64. Plaintiffs' economists testified at         Disputed.
   27
        deposition that the sole basis for his    This is a gross misrepresentation of
   28
                                                   38
          PLAINTIFFS’ RESPONSE TO STATEMENT                   CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                           OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                      AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        opinion that the decedent was            the record.
    4
        providing 50% of T.L.'s support          Dr. Fractor’s Report clearly indicates
    5
        was Ms. Amador' s testimony and not      that he relied on the financial records
    6
        any analysis of the financial records    produced by plaintiffs.
    7
        produced.                                Shepardson Decl., Ex. CC (Fractor
    8
        [Hickey Decl., Ex. K, Fractor            Report), p. 2, para. 3.
    9
        Deposition at 63:12-25]                  Dr. Fractor in no way testified that he
   10
                                                 disregarded the financial records; he
   11
                                                 said he didn’t have any sworn
   12
                                                 testimony other than the deposition.
   13
                                                 Shepardson Decl., Ex. DD (Fractor
   14
                                                 Depo.), pp. 63:19–64:3.
   15

   16
        65. Plaintiffs' economist testified at
   17
        deposition that his opinion regarding    Disputed.
   18
        the support of T.L. by decedent was at   SSgt. Fontalvo contributed more than
   19
        the "time of his death" only.            half of Tanika’s support from
   20
        [Hickey Decl., Ex. K, Fractor            December 2007 to his death in March
   21
        Deposition at 69:9-70:3]                 2011.
   22
                                                 Shepardson Decl., Exs. BB (Amador
   23
                                                 Decl.), paras. 7–8; & Y (Amador
   24
                                                 Depo.), pp. 79:25–80:14, 81:17–82.10,
   25
                                                 160:13–25
   26

   27
        66. The filing status "Head of
   28
                                                  39
          PLAINTIFFS’ RESPONSE TO STATEMENT                 CASE NO. 3:13-CV-00331-GPC-KSC
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    1   MOVING PARTY’S                          OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                     AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        Household" requires that the filer have Objection: this is a legal conclusion
    4
        paid more than half the cost of the        rather than a fact.
    5
        support for the qualifying dependent.      Without waiving this objection, this
    6
        [Hickey Decl., Ex. J]                      statement is disputed.
    7
                                                   This is a misrepresentation of the
    8
                                                   contents of the cited document.
    9
        67. Tashina Amador's Marine Corps
   10
        gross income was approximately the         Disputed.
   11
        same in 2010 as the decedent, Alex         SSgt. Fontalvo made $30,046.30 in
   12
        Fontalvo.                                  2010, more than the $28,766 earned
   13
        [Hickey Decl., Ex. H, Amador               by Tashina Peshlakai (now Amador)
   14
        Deposition; Ex. K, Fractor                 Shepardson Decl., Exs. EE & FF.
   15
        Deposition]
   16
        68. In October 2010, Alex Fontalvo
   17
        stated in a notarized military form that   Objection: the cited exhibit is Hearsay
   18
        the total personal monthly expenses        not within an exception.
   19
        for D.F. in October 2010 were $1,300,      Further objection: lack of foundation
   20
        that he contributed $1,500 to D.F.'s       Without waiving said objection, this
   21
        monthly support and that no other          statement is disputed. This is a
   22
        person contributes to the support of       misrepresentation of the contents of
   23
        D.F.                                       the document, and the imputed
   24
        [Hickey Decl., Ex. I]                      “statements” are not contained therein.
   25
        69. Tashina Amador's (the guardian of
   26
        T.L. and her biological mother)            Undisputed.
   27
        testified that the decedent provided
   28
                                                    40
          PLAINTIFFS’ RESPONSE TO STATEMENT                    CASE NO. 3:13-CV-00331-GPC-KSC
          OF UNDISPUTED FACTS OF SIKORSKY
Case 3:13-cv-00331-GPC-KSC Document 173-1 Filed 07/06/17 PageID.9451 Page 41 of 42



    1   MOVING PARTY’S                            OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                       AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
        "about 60 percent" of T.L' s support.
    4
        [Hickey Decl., Ex. H, Amador
    5
        Deposition at 81:17-82 :2]
    6
        70. Sikorsky Support Services, Inc.
    7
        had no involvement in design or           Undisputed.
    8
        manufacturer of the subject helicopter.
    9
        [Wakefield Decl., ¶ 2]
   10
        71. NAVAIR opened a H-53 Safety
   11
        Action Record ("SAR 42-005") in           Objection: vague, ambiguous and
   12
        1986.                                     incoherent as written.
   13
        [Supp. Hickey Decl., Ex. O]               Further objection to the extent this is a
   14
                                                  legal conclusion rather than a fact.
   15
                                                  Without waiving said objections, this
   16
                                                  statement is undisputed for the
   17
                                                  purposes of this Motion.
   18
        72. NAVAIR discussed, worked,
   19
        made decisions and took action            Objection: vague and ambiguous as to
   20
        regarding the wire deterioration          the meaning of “the wire deterioration
   21
        problem through several of its            problem.”
   22
        working groups including the H-53         Without waiving said objections, it is
   23
        System Safety Working Group, the          disputed that NAVAIR ever had
   24
        Integrated Logistics Support              knowledge or information regarding
   25
        Management Team, and Fleet Support        the danger posed by the defective
   26
        Team.                                     configuration of the landing gear
   27
        [Hickey Decl., Ex. N]                     wiring harness in the CH-53E; there is
   28
                                                   41
          PLAINTIFFS’ RESPONSE TO STATEMENT                   CASE NO. 3:13-CV-00331-GPC-KSC
          OF UNDISPUTED FACTS OF SIKORSKY
Case 3:13-cv-00331-GPC-KSC Document 173-1 Filed 07/06/17 PageID.9452 Page 42 of 42



    1   MOVING PARTY’S                       OPPOSING PARTY’S RESPONSE
        UNDISPUTED MATERIAL                  AND SUPPORTING EVIDENCE
    2   FACTS AND SUPPORTING
    3   EVIDENCE
                                             no evidence that the sub-system
    4
                                             pertinent to this case, the landing gear
    5
                                             wiring harness and its connections to
    6
                                             the hydraulic utility module, were
    7
                                             evaluated in any way by NAVAIR.
    8
                                             Shepardson Decl., Ex. B (Wakefield
    9
                                             Depo., pp. 82:10–15, 136:17–142:13;
   10
                                             & V (Leigh Depo., pp. 142:16–
   11
                                             144:16);
   12
                                             Lawrence Decl. para. 6.
   13

   14

   15

   16
         DATED: July 5, 2017          GRASSINI, WRINKLE & JOHNSON
   17

   18                               By: /s/ Marshall J. Shepardson
   19                                     MARSHALL J. SHEPARDSON
   20
                                    Attorneys for Plaintiff
   21                               E:Mail: mshepardson@grassinilaw.com
   22

   23

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                                              42
          PLAINTIFFS’ RESPONSE TO STATEMENT             CASE NO. 3:13-CV-00331-GPC-KSC
          OF UNDISPUTED FACTS OF SIKORSKY
